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UNITED sTATEs DISTRICT COURT f m ‘M
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WESTERN DISTRICT oF TENNESSEE _
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UNITED sTATEs oF AMERICA _
CR.Nos. 05-20295-Ma/Va t ,

05-20293-B/An ¢.\, _, t
VS.

GERALD BERRY ,

\_/W\./'~_¢"\_/\_/

APPLICATION, OR])ER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attorney’s Office applies to the Court for a Writ to have Gerald Berry, RNI
Number: 168167 and Booking Nurnber: 5115749, now being detained in the Shelby County Jail, 201
Poplar Avenue, Memphis, TN, appear before the Honorable Diane K. Veseovo on (day) 19th, (month)
September, 2005, at (tirne) 2:00 pm for Initial Appearance and for such other appearances as this Court
may direct.

)
Respectfully submitted this 29th day of August, 2005. , /

tephen C. Parker
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Western Distriet of
Tennessee, Mernphis, TN Sheriff/Warden, Mark Luttrell, Shelby County Jai1, 201 Poplar Avenue,
Mernphis, TN.
YOU ARE HEREBY COMMANDED to have Gerald Berry, RNI Number: 168167 and Booking
Number: 51 15749, appear before the Honorable Diane K. Vescovo at the date and time aforementionedl

ENTERED this 29th day of August, 2005.

 

UNITED STATES'MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20293 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

